                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


MISSOURI BROADCASTERS                         )
ASSOCIATION, et al,                           )
                                              )
               Plaintiffs,                    )
                                              )
       vs.                                    )      Case No. 2:13-cv-04034-MDH
                                              )
DOROTHY TAYLOR, et al.,                       )
                                              )
               Defendants.                    )

                                             ORDER

       Plaintiffs Missouri Broadcasters Association, Zimmer Radio of Mid-Mo, Inc., Meyer

Farms, Inc., and Uncle D’s Sports Bar & Grill have brought this lawsuit seeking a declaratory

judgment and injunctive relief related to three separate Missouri restrictions on the advertising of

alcoholic beverages.1 Plaintiffs allege the two regulations and one statute at issue violate their

right to freedom of speech under the First Amendment.        Defendants deny the allegations and

contend the provisions directly advance the State’s substantial interests in preventing

overconsumption of alcohol, preventing illegal underage drinking, and maintaining an orderly

marketplace.

                                  PROCEDURAL HISTORY

       On March 31, 2015, Judge Gaitan issued an Order denying Plaintiffs’ Motion for Summary

Judgment and granting (on reconsideration) Defendants’ Motion to Dismiss. (Doc. 57). The Court




1
  MBA, a non-profit corporation, is a trade association that promotes the interest and welfare of
the broadcasting industry in Missouri. Zimmer Radio is an MBA member and operates seven
Missouri radio stations. Meyer Farms grows grapes on its Missouri farm, has a winery make its
grapes into wine, and then sells the wine. Uncle D’s is a bar and grill that serves alcohol.



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subsequently dismissed all claims in Plaintiffs’ Complaint in March 2016. (Doc. 62).        Plaintiffs

appealed Judge Gaitan’s ruling and the Eighth Circuit reversed the Rule 12(b)(6) dismissal,

remanding the case back to this Court. The Eighth Circuit stated: “Plaintiffs, at a minimum, pled

sufficient facts to survive a Rule 12(b)(6) motion to dismiss. On its face, the amended complaint

plausibly demonstrates the challenged provisions do not directly advance the government’s

asserted substantial interest, are more extensive than necessary, and unconstitutionally compel

speech and association.” Missouri Broadcasters Ass'n v. Lacy, 846 F.3d 295, 303 (8th Cir. 2017)

(internal citation omitted). The Eighth Circuit further stated, “our review of the grant of the motion

to dismiss does not impact the district court’s denial of summary judgment.” Id. at 299 n. 4.

        On remand, Plaintiffs filed a motion for reconsideration and/or motion for summary

judgment. This Court denied the motion for reconsideration, finding disputed material facts, and

scheduled the case for trial. (Doc. 95) (“A case of this importance is best resolved after a more

complete evaluation of the evidence rather than on summary judgment based on generalized legal

conclusions.”). On February 20, 2018, the Court conducted a bench trial and the parties presented

evidence and argument on the pending claims. For the reasons set forth herein, the Court finds in

favor of Plaintiffs.

                            THE REGULATIONS AND STATUTE

        This case involves Plaintiffs’ challenge of two Missouri regulations prohibiting the

advertising of certain information by alcohol manufacturers, retailers, wholesalers and distributors

and one Missouri statute limiting how wholesalers and distillers advertise their products through

retailers.2




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  The factual findings set forth herein are based on both the undisputed material facts presented
in the summary judgment briefing and the evidence presented during trial.
                                                  2

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          The “Challenged Regulations” are two parts of 11 C.S.R. 70-2.240, which prohibits media

advertisements of alcoholic beverages unless the advertisements conform to requirements set forth

later in the regulations. Subsection (5)(G) (the “Discount Advertising Prohibition Regulation”),

states:

          (5) No advertisement of intoxicating liquor or nonintoxicating beer shall contain:

          (G) Any statement offering any coupon, premium, prize, rebate, sales price below
          cost or discount as an inducement to purchase intoxicating liquor or nonintoxicating
          beer except, manufacturers of intoxicating liquor other than beer or wine shall be
          permitted to offer and advertise consumer cash rebate coupons and all
          manufacturers of intoxicating liquor may offer and advertise coupons for
          nonalcoholic merchandise in accordance with section 311.355, RSMo;

          In essence, this regulation forbids media advertising of price discounts with some

exceptions. Retailers are prohibited from offering a coupon or discount to purchase beer or wine,

but not intoxicating liquor other than beer or wine. The regulation also prohibits retailers from

outside advertising of discounts on alcohol. However, the same discounts may be advertised inside

the establishments.3 Generic advertisements such as “Happy Hour” or “Ladies Night” may be

used in outside advertising, but other discounts in outside advertising are not permitted, such as

“two-for-one” specials.

          Subsection (5)(I) (the “Below Cost Advertising Prohibition Regulation”), states:

          (5) No advertisement of intoxicating liquor or nonintoxicating beer shall contain:

          (I) A price that is below the retailer's actual cost.




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  Outside advertising refers to any advertising of a discount price communicated outside the
establishment or visible outside the physical premises of the retailer. Inside advertising refers to
advertising of a discount price only visible or communicated within the physical premises of the
retailer.
                                                     3

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        The Below Cost Advertising regulation simply prohibits retailers from advertising prices

that are below the retailer’s cost. It does not prohibit retailers from selling alcohol at a price below

the retailer’s cost.

        The statute-in-question (the “Challenged Statute”), Ann. Stat. § 311.070.1 states:

        Distillers, wholesalers, winemakers, brewers or their employees, officers or agents
        shall not, except as provided in this section, directly or indirectly, have any financial
        interest in the retail business for sale of intoxicating liquors, and shall not, except
        as provided in this section, directly or indirectly, loan, give away or furnish
        equipment, money, credit or property of any kind, except ordinary commercial
        credit for liquors sold to such retail dealers. However, notwithstanding any other
        provision of this chapter to the contrary, for the purpose of the promotion of
        tourism, a distiller whose manufacturing establishment is located within this state
        may apply for and the supervisor of liquor control may issue a license to sell
        intoxicating liquor, as in this chapter defined, by the drink at retail for consumption
        on the premises where sold; and provided further that the premises so licensed shall
        be in close proximity to the distillery and may remain open between the hours of
        6:00 a.m. and 1:30 a.m., Monday through Saturday and between the hours of 9:00
        a.m. and midnight, Sunday. The authority for the collection of fees by cities and
        counties as provided in section 311.220, and all other laws and regulations relating
        to the sale of liquor by the drink for consumption on the premises where sold, shall
        apply to the holder of a license issued under the provisions of this section in the
        same manner as they apply to establishments licensed under the provisions of
        section 311.085, 311.090, or 311.095.

Mo. Ann. Stat. § 311.070.1. The statute in essence prohibits distillers, wholesalers, brewers or

winemakers from providing any financial aid to retailers, including through advertising, except as

provided in Mo. Ann. Stat. § 311.070., section 4(10), which states:

        4. Notwithstanding other provisions contained herein, the distiller, wholesaler,
        winemaker or brewer, or their employees, officers or agents may engage in the
        following activities with a retail licensee licensed pursuant to this chapter: …

         (10) The distiller, wholesaler, winemaker or brewer may in an advertisement list
        the names and addresses of two or more unaffiliated retail businesses selling its
        product if all of the following requirements are met:

        (a) The advertisement shall not contain the retail price of the product;
        (b) The listing of the retail businesses shall be the only reference to such retail
        businesses in the advertisement;



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        (c) The listing of the retail businesses shall be relatively inconspicuous in relation
        to the advertisement as a whole; and
        (d) The advertisement shall not refer only to one retail business or only to a retail
        business controlled directly or indirectly by the same retail business;

Mo. Ann. Stat. § 311.070.

        The exception contained in Section 4(10) allows a producer or wholesaler of alcohol to

advertise on behalf of retailers under certain conditions. To meet the requirements of the

exception, producers and wholesalers must exclude the retail price of their products from the

advertisements if they identify a retailer; must include multiple unrelated retailers if they choose

to identify a retailer; and even then, retailers may only be mentioned in an inconspicuous manner.

        It is undisputed, that under existing Missouri law, retailers, such as bars and liquor stores,

may advertise and promote price discounts for alcoholic beverages inside their establishments.

Further, while Missouri state regulation 11 C.S.R. § 70-2.240(5)(G) generally bars media

advertising of alcoholic beverage price discounts, it explicitly permits manufacturers of

intoxicating liquor, other than beer or wine, to both offer and advertise consumer cash rebate

coupons. In addition, Missouri permits media advertising of alcoholic beverage price discounts

with generic descriptions (e.g., “Happy Hour” and “Ladies Night”), but does not allow specific

prices to be used.

        Finally, violations of the regulations or statute may result in fines and penalties, the

suspension or revocation of alcoholic sales licenses, and/or misdemeanor criminal prosecutions.

See Mo. Ann. Stat. §§ 311.660, 311.868, and 311.880. All these remedies have been enforced by

the State.

                                               DISCUSSION

         To begin, “the parties agree the challenged provisions regulate commercial speech.” See

 Missouri Broadcasters Association v. Lacy, 846 F.3d at 300. “The First Amendment ‘accords

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    a lesser protection to commercial speech than to other constitutionally guaranteed expression.’”

    Id. (citing Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm'n of New York, 447 U.S. 557,

    563, 100 S. Ct. 2343, 2347, 65 L. Ed. 2d 341 (1980)). In Central Hudson, the Supreme Court

    identified four considerations to determine the constitutionality of laws burdening commercial

    speech: “(1) whether the commercial speech at issue concerns unlawful activity or is misleading;

    (2) whether the governmental interest is substantial; (3) whether the challenged regulation

    directly advances the government's asserted interest; and (4) whether the regulation is no more

    extensive than necessary to further the government's interest.” Id. (citing 1–800–411–PAIN

    Referral Serv., LLC v. Otto, 744 F.3d 1045, 1055 (8th Cir. 2014)); see also 44 Liquormart, Inc.

    v. Rhode Island, 517 U.S. 484 (1996).4 Here, the Eighth Circuit has stated, “The interest in

    Missouri’s Liquor Control Law, the greater statutory scheme within which the challenged

    restrictions are situated, is “to promote responsible consumption, combat illegal underage

    drinking, and ... maintain[ ] an orderly marketplace.” Mo. Ann. Stat. § 311.015.

           The Court finds there is a substantial government interest in both dissuading

    overconsumption of alcohol and combating underage drinking, and Plaintiffs acknowledge the

    State has these substantial interests. Significant health and public safety interests are clearly

    involved in both. Further, while Plaintiffs do not concede that the State has a substantial interest

    in maintaining an orderly marketplace, for the reasons set forth herein, the Court finds that there

    is also a substantial State interest in maintaining an orderly marketplace. Therefore, the Court’s

    decision here focuses its analysis under Central Hudson’s third and fourth factors and whether




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 There is no claim that the advertising prohibited by these regulations and statute are unlawful or
misleading. The parties agree that the advertising at issue contains truthful information.
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the regulations and statute at issue: 1) directly advance the state’s substantial interests; and/or 2)

are no more extensive than necessary.

      I.      THE REGULATIONS - Subsection (5)(G) (the “Discount Advertising
              Prohibition Regulation”) and Subsection (5)(I) (the “Below Cost Advertising
              Prohibition Regulation”).

        In support of their claims, Plaintiffs argue the regulations prohibit truthful, non-

misleading commercial speech and restrict the flow of truthful information to potential

customers. Missouri Broadcasters Ass'n v. Lacy, 846 F.3d at 299. Plaintiffs also argue there is

no evidence that the regulations significantly impact overconsumption of alcohol or underage

drinking. They further claim that the state is inconsistent in its enforcement of the regulations

and therefore cannot show the regulations directly advance the State’s interest.             Finally,

Plaintiffs claim the State cannot establish that the regulations are no more extensive than

necessary to serve its substantial interest. Id. In response, Defendants simply argue that the

statute and regulations directly advance the State’s interest and do not violate the First

Amendment.

        Under the applicable legal framework, and as admitted by the State, the State has the

burden to prove that the regulations directly advance the State’s substantial interests and that the

regulations are no more extensive than necessary to further the state’s interest. Id. at 301 (citing

Greater New Orleans Broad. Ass’n, Inc. v. United States, 527 U.S. 173, 188, 119 S.Ct. 1923,

144 L.Ed.2d 161 (1999)) (quoting Edenfield v. Fane, 507 U.S. 761, 771, 113 S.Ct. 1792, 123

L.Ed.2d 543 (1993)); see also Utah Licensed Beverage Ass’n v. Leavitt, 256 F.3d 1061, 1070–

71 (10th Cir. 2001) (“The Supreme Court has stated that ‘[t]he party seeking to uphold a

restriction on commercial speech carries the burden of justifying it.’”) (internal citation omitted).

“This burden ‘is not satisfied by mere speculation or conjecture.’” Utah Licensed Beverage


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 Ass’n v. Leavitt, 256 F.3d at 1070–71. The State “must demonstrate that the harms it recites are

 real and that its restriction will in fact alleviate them to a material degree.” Id. (internal citation

 omitted).

               A. The Government Has Failed To Meet Its Burden Of Establishing That
                  The Regulations Directly Advance The State’s Asserted Interest.

       In determining whether the regulations directly advance the substantial interest of

discouraging overconsumption of alcohol and preventing underage drinking, the Court considers

“the relationship between the harm that underlies the State’s interest and the means identified by

the State to advance that interest.” Id. (citing Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 555,

121 S.Ct. 2404, 150 L.Ed.2d 532 (2001)). Defendants have the burden of proof and “‘must

demonstrate that the harms [they] recite[ ] are real and that [defendants’] restriction will in fact

alleviate them to a material degree.’” Id. (citing Greater New Orleans Broad. Ass’n, Inc. 527 U.S.

at 188) (quoting Edenfield v. Fane, 507 U.S. at 771). “The need for the State to make such a

showing is particularly great given the drastic nature of its chosen means—the wholesale

suppression of truthful, nonmisleading information.” 44 Liquormart, Inc. v. Rhode Island, 517

U.S. at 505. (“Accordingly, we must determine whether the State has shown that the price

advertising ban will significantly reduce alcohol consumption.”). “A speech regulation may not

be sustained if it provides only ineffective or remote support for the government's purpose.” Utah

Licensed Beverage Ass'n v. Leavitt, 256 F.3d at 1071 (internal citation omitted).

       The State’s interest involves significant health and public safety issues for the citizens of

Missouri. To pass constitutional muster under the Central Hudson analysis, the regulations at

issue must directly advance the State’s interest in either discouraging overconsumption of alcohol

or preventing illegal underage drinking. The State has the burden to establish the relationship

between the potential harm identified and the means set forth in the statute and regulations to

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advance that interest in order to meet the Central Hudson test. Missouri Broadcasters Ass'n v.

Lacy, 846 F.3d at 301 (citing Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 555, 121 S. Ct. 2404,

150 L.Ed2d 532 (2001)). The State must further demonstrate that the statute and regulations will,

in fact, advance the State’s substantial interest by addressing the potential harms to a material

degree. Id. (internal citation omitted). Simply stated, the State must show that prohibiting

advertising of discount prices and below-cost alcohol directly reduces overconsumption of alcohol

and underage drinking.

       While the burden of proof is on Defendants, Plaintiffs submitted credible and substantial

evidence, through their expert witness, that that there is in fact no demonstrative relationship

between media advertising of alcohol and overall consumption rates or underage drinking.

Plaintiffs’ evidence demonstrated that advertising significantly affected the brand and type of

alcohol sold, but did not statistically impact the total amount of alcohol consumed by individuals.

In fact, Plaintiffs submitted convincing evidence that increases in overall alcohol advertising

expenditures have occurred while the per capita consumption of alcohol has actually declined. The

State failed to present any evidence contradicting the testimony, empirical studies, and statistical

analysis relied on by Plaintiffs’ expert. Further, the State offered no empirical or statistical

evidence, study, or expert opinion demonstrating how these regulations further protect the State’s

interest.5 For example, the State did not present evidence showing overconsumption or underage

drinking is less frequent in Missouri than in states without similar advertising restrictions. The

State did not produce evidence that the rate of overconsumption or underage drinking decreased



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 The State discussed a 2003 Kuo study during the cross examination of Plaintiffs’ expert witness.
However, the study was not admitted as evidence. The testimony regarding the study was that it
examined establishments that sold alcohol within 2 miles of colleges. Plaintiffs’ expert witness
opined that the study only addressed advertising in establishments and on the windows of
establishments, but did not relate to mass media price advertising.
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when the challenged regulations were adopted in Missouri. As a result, the Court finds the State

has provided no evidence that the challenged regulations significantly advance a substantial State

interest. The State failed to meet its evidentiary burden.

       The State’s regulatory scheme is, at best, inconsistent if designed to reduce

overconsumption and underage drinking. The State allows discount priced alcohol to be sold at

retail establishments in Missouri. While the regulations at issue prohibit discount advertising

outside a retailer, the discounted prices are allowed and can be advertised once a consumer is inside

the establishment. As a result, consumers already motivated to go inside an establishment are thus

allowed to have knowledge of, and take advantage of, the discounted price and sale. This is far

more likely to lead to overconsumption than general media advertising.

       The State’s scheme has other inconsistencies. While the regulations prohibit the advertising

of some sales, such as two-for-one specials, going out of business sales for a local wine store, or a

coupon for a free drink with the purchase of a meal, the State allows other generic advertising of

discounts of alcohol, including “happy hours” and “ladies’ night” advertisements. The State also

allows for coupons to be used for the sale of some types of alcohol, but not others. As identified

by Plaintiffs there are glaring inconsistencies in the regulations as applied, and lead to serious

questions as to whether the regulations even intend to directly advance its substantial interest in

reducing overconsumption and underage drinking.

       The Court also notes Missouri’s neighboring states do not have the same prohibitions on

alcohol advertising that Missouri imposes. Since a significant portion of Missouri citizens are

subjected to advertising in their neighboring states, such as Kansas, Arkansas, Illinois and Iowa,

the impact the Missouri regulations have on the State’s interest are even further minimized. The

advertising restrictions adversely impact Missouri establishments’ competitive position in those



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areas by depriving consumers of truthful comparative pricing information for Missouri

establishments.

        Here, this Court agrees, and Plaintiffs have established, that “the multiple inconsistences

within the regulations poke obvious holes in any potential advancement” of the State’s interest,

“to the point the regulations do not advance the interest at all.” Missouri Broadcasters Ass'n v.

Lacy, 846 F.3d at 301. Therefore, based on the record before the Court, the Court finds the State

has failed to meet its burden of establishing that the regulations directly advance the State’s

asserted interest.

                B. The Government Has Failed To Meet Its Burden Of Establishing That
                   The Regulations Are No More Extensive Than Necessary To Further The
                   Government's Interest.

        Under Central Hudson factor number 4, the Court must look to whether there are

alternatives that directly advance the asserted interests in a manner that is less intrusive to

Plaintiffs’ First Amendment Rights. See Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm'n

of New York, 447 U.S at 564-566. The “regulation of speech cannot be sustained unless there is

evidence that the state ‘carefully calculated the costs and benefits associated with the burden on

speech imposed’ by the regulations.” Utah Licensed Beverage Ass'n v. Leavitt, 256 F.3d at 1075

(citing Lorillard Tobacco Co. v. Reilly, 121 S.Ct. at 2425). The Court finds the State cannot meet

its burden under Central Hudson factor number 4.

        Plaintiffs’ evidence establishes that the State’s interest in discouraging the

overconsumption of alcohol and combating illegal underage drinking can be obtained from less

restrictive alternatives that may actually have a much greater effectiveness than the existing

regulations. Plaintiffs’ evidence established that educational programs have been found to be

effective in promoting the State’s interests, especially as it relates to driving while under the


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influence. In fact, the evidence presented at trial indicates that if the State provided additional

funding for these awareness programs it would further promote the State’s interest in preventing

underage drinking and preventing the overconsumption of alcohol. Defendants failed to offer

evidence to contradict this. In fact, the State’s own evidence demonstrated the effectiveness of

educational programs in preventing underage drinking and also reinforced the need for, and direct

benefits which would be derived from, committing additional resources to those programs. The

Chief of Enforcement for the Missouri Division of Alcohol and Tobacco Control testified that his

division is authorized 14 agents, all with prior law enforcement experience. His agents spend

about 95 percent of their time on licensing and only 5 percent of their time on enforcement. The

Chief stated he would like the Division’s agents to spend 50 percent of their time on enforcement

and 50 percent of their time on licensing.

          Another alternative raised by Plaintiffs, and supported by the evidence presented, is an

increase in the State’s excise tax on alcohol that could further the government’s interest. An

overall increase in the cost of alcohol would, based on the evidence, likely reduce overall alcohol

consumption.6 Such a tax could, at least theoretically, advance the State’s interest in reducing the

overconsumption of alcohol and underage drinking.

          From the record, the Court finds the State has multiple non-speech-suppressive alternatives

that could directly advance the State’s interests in reducing overconsumption and underage

drinking. Alternatives include, but are not limited to: (1) an increase in taxes of alcohol; (2) direct

controls on pricing; (3) development and full funding of educational campaigns concerning the

problems of excessive and underage drinking; (4) a ban on promotions on alcohol in the entirety;




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    The State’s tax rates on alcohol are low compared to other states.
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(5) enhancement of enforcement penalties; or (6) implementation of one or more of the foregoing

alternatives within a 2-mile radius of colleges instead of the entire state.

        The Court finds Plaintiffs have presented sufficient evidence that there are reasonable

alternatives, including those stated herein, to the challenged restrictions that the State could have

enacted that are less intrusive to Plaintiffs’ First Amendment rights. See 44 Liquormart, Inc. v.

Rhode Island, 517 U.S. at 507 (suggesting limiting alcohol purchases by heavily taxing and/or

regulating alcohol or developing educational campaigns about the effects of alcohol as alternatives

to Rhode Island’s blanket ban on advertising the price of alcohol). The State provided no evidence

to contradict the possible effectiveness of these alternatives.

        Therefore, for the reasons set forth herein, the State has failed to meet its burden at step

four and cannot establish that the regulations are no more extensive than necessary to further its

interest.

        II.        THE STATUTE.

        Plaintiffs contend the Challenged Statute prohibits truthful, non-misleading commercial

speech and restricts the flow of truthful information to potential customers. In addition, Plaintiffs

argue the statute is unconstitutional because it compels speech and association by requiring

producers and wholesalers to list more than one retailer on advertisements, if they chose to list any

retailer at all.    Defendants argue the State has a substantial interest in maintaining an orderly

marketplace by maintaining a three-tier separation and preventing undue influence over retailers.

        The statute states, in part, “Distillers, wholesalers, winemakers, brewers or their

employees, officers or agents shall not, except as provided in this section, directly or indirectly,

have any financial interest in the retail business for sale of intoxicating liquors, . . . .” Mo. Ann.

Stat. § 311.070.1. The statute dictates how distillers and wholesalers may advertise retailers

selling their products. Missouri Broadcasters Ass'n v. Lacy, 846 F.3d at 298. Producers and
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wholesalers are required, if they choose to list any retailers in an advertisement, to exclude the

retail price of the product from the advertisement, to list multiple unaffiliated retailers, and to make

the listing inconspicuous. Id. at 299.

       As previously stated, the Court finds that preventing the overconsumption of alcohol,

preventing illegal underage drinking, and maintaining an orderly marketplace are substantial state

interests. Alcohol manufacturing, wholesale distribution, and retail sales, are part of a significant

industry with a large economic impact and significant potential social consequence. A consistent

regulatory scheme, maintaining a distinct three-tier system separating manufacturing, wholesalers,

and retailers from financial intermingling, could provide benefits to Missouri consumers by

maintaining competition at the retail level. As such, the Court finds the first two Central Hudson

factors have been met and analyzes whether the Challenged Statute: 1) directly advances its

substantial interests; and/or 2) is no more extensive than necessary.

                 A. The Government Has Failed To Meet Its Burden Of Establishing That The
                    Statute Directly Advances The State’s Asserted Interest.

       As set forth in the Eighth Circuit’s opinion, “Missouri’s Liquor Control Law establishes

restrictions on retailers, wholesalers, and producers exchanging money to promote the responsible

consumption of alcohol and other state policy interests.” Missouri Broadcasters Ass'n v. Lacy,

846 F.3d at 302. “The challenged statute is an exception to those restrictions.” Id. (citing Mo.

Ann. Stat. § 311.070.1). The Eighth Circuit noted, “the statute does nothing to further the interest

in maintaining an orderly marketplace and actually weakens the impact of the overall statutory

scheme because this statute is an exemption to the restrictions preventing retailers, wholesalers,

and producers from becoming financially entangled.” Id. See Mo. Ann. Stat. §§ 311.070.1,

311.070.4(10).




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        In essence, the three tier system the State is promoting is a measure to keep the manufacture

and wholesale tiers from controlling or dominating the retail tier. Therefore, the State believes the

three tier system maintains an orderly marketplace by prohibiting vendor paid advertisements and

cooperative advertisements.      The State’s purported goal is to restrict manufacturers and

wholesalers from comingling with, or picking favorites among, retailers. The intent is to prevent

restrictions of competition and/or prevent wholesalers from gaining fiscal control of retailers’ sales

tactics or strategies.

        Missouri’s Challenged Statute, similar to the regulations discussed herein, is also filled

with exceptions and inconsistencies adopted piecemeal over time. For example, the State permits

Missouri based wineries to comingle all three tiers, including producing wine, wholesaling wine,

and retailing wine. See Mo. Ann. Stat. §§ 311.190.1 and 311.070.11. Further, Missouri allows

out of state wineries to make direct retail sales to Missouri residents and consumers. Distillers of

spirits and microbrewers are allowed to sell their own produced liquor or beer through retail

businesses on their premises, again comingling the three tiers the Statute is argued to protect.

Plaintiffs provided numerous examples, such as these, demonstrating how the three tier regulatory

system has been blurred, if not wholly abandoned.

        The Challenged Statute generally prohibits distillers, wholesalers, brewers, or winemakers

from providing advertising, financial assistance, or incentives to retailers through advertising.7

However, even the Statute itself contains numerous exceptions to this general rule. These

exceptions apply to both advertising restrictions and to prohibitions on providing financial

incentives and assistance to retailers. As described above, a distiller, wholesaler, brewer, or




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  The Challenged Statute restricts truthful fact-based advertising and therefore, infringes on
commercial speech and is subject to First Amendment protection under the Central Hudson test.
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winemaker may advertise on behalf of a retailer if the advertisement refers to multiple retailers,

does not include the retail price, and only identifies the retail businesses in an inconspicuous

manner.

        In addition, wholesalers are permitted to provide other financial incentives to retailers,

including barware, mirrors, or other tangible goods to be placed inside the retail establishments,

that in essence provide advertising of the wholesaler’s products. These types of “incentives”

expressly permit some financial commingling of the wholesale and retail tiers of the liquor industry

and contradict the State’s asserted interest in maintaining a separate three tier marketplace. In

response to Plaintiffs’ evidence, the State has provided no explanation as to why advertising

commingling would disrupt the State’s regulatory scheme, while these other instances of financial

commingling that are allowed under the State’s statutes and regulations do not.

        The Court finds the State cannot meet its burden to establish that the Statute directly

advances a substantial interest. The infringement of Plaintiffs’ First Amendment rights clearly

exceeds any direct benefit to maintaining what is left of the three tier regulatory scheme.8 As a

result, the State has failed to establish how the Challenged Statute directly advances its substantial

interests.

               B. The Government Has Failed To Meet Its Burden Of Establishing That The
                  Statute Is No More Extensive Than Necessary To Further The
                  Government's Interest.

        The Court finds that the Challenged Statute is not narrowly tailored to the State’s

substantial interests. Here, the only issue addressed by the statute is cooperative advertising. The




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  In essence, the State’s interest in maintaining an orderly marketplace through a three tier system
has certainly been blurred, if not eliminated, for certain entities based on the various exemptions,
including those for distilleries, breweries, and Missouri wineries.
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State has alternative non-speech-suppressive alternatives that are available to meet the State’s

interest in maintaining an orderly marketplace.

       For example, the State may police rather than ban intra-tier advertising arrangements. See

e.g., Retail Digital Networks, LLC v. Appelsmith, 810 F.3d 368, 653 (9th Cir. 2016). Further, other

alternatives exist, such as restoring the three tier separation by taking away other exceptions that

do not affect First Amendment speech, while maintaining some level of control over supplier

payments to retailers. The State could monitor wholesale and producer advertising and any

cooperative advertising payments through a self-reporting system, or it could limit the amount of

money allowed to be spent on advertising on an annual basis. The State could limit non-advertising

related financial incentives and assistance which could be provided to retailers.

               C. The Statute Unconstitutionally Compels Speech.

       Finally, the Court agrees with Plaintiff’s contention that the Statute unconstitutionally

compels speech and association by requiring producers and wholesalers to list more than one

retailer on an advertisement, if they choose to list any. In doing so, the Statute’s requirement

compels producers and wholesalers to associate and support retailers they may not wish to include,

if they choose to include a retailer in an advertisement. See Missouri Broadcasters Ass'n v. Lacy,

846 F.3d at 303 (internal citations omitted)(“[F]reedom of thought and expression ‘includes both

the right to speak freely and the right to refrain from speaking at all.’”). “The Statute is conditional

in that it only impacts speech if producers and wholesalers choose to include the name and address

of a retailer in an advertisement, but if a producer or wholesaler does choose to include such

information, it is compelled to (1) associate with multiple retailers, and (2) include multiple

retailers' information on the advertisement.” Id. The Court finds Plaintiffs have established that

compelling this speech and association violates the First Amendment.



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       As set forth herein, there are ways the State can regulate abuse of favoritism to retailers

beyond the rigid prohibitions contained in the Statute. The Court finds the State has failed to

establish that the Statute advances a substantial state interest, and further, even if the Statute did

in fact advance a substantial state interest, the State cannot establish that it is no more extensive

than necessary to further that interest.

                                           CONCLUSION

         The Eighth Circuit’s opinion made clear if the allegations contained in Plaintiffs’

 Complaint are true, then the regulations and statute violate the First Amendment and are

 unconstitutional.   For the reasons stated herein, the Court finds the allegations are true.

 Defendants have failed to meet their burden under Central Hudson.

         Wherefore, the Court finds in favor of Plaintiffs and finds the challenged regulations and

 statute violate the First Amendment to the United States Constitution and are unconstitutional.

 The Court hereby ORDERS that Defendants are permanently enjoined from enforcing the

 advertising restrictions contained in Missouri regulations 11 C.S.R. 70-2.240(5)(G) and 11

 C.S.R. 70-2.240(5)(I). The Court further ORDERS that Defendants are permanently enjoined

 from enforcing Mo. Ann. Stat. § 311.070 to the extent it prohibits alcoholic beverage

 manufacturers and distributors from providing financial or other support for retail advertising of

 alcoholic beverages that does not meet the requirements of the exception set forth in Mo. Ann.

 Stat. § 311.070.4(10).

         The Court further finds Plaintiffs are entitled to a judgment for attorneys’ fees and court

 costs pursuant to 42 U.S.C. § 1988, the Civil Rights Attorneys Fees Award Act of 1976, and/or

 28 U.S.C. § 2202. Plaintiffs are ordered to submit their Motion for attorneys’ fees and court




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 costs to the Court within 30 days of the date of this Order. Defendants shall have the opportunity

 to respond to Plaintiffs’ Motion prior to the Court issuing a ruling on that issue.

IT IS SO ORDERED.

Date: June 28, 2018
                                                      /s/ Douglas Harpool__________________
                                                      DOUGLAS HARPOOL
                                                      UNITED STATES DISTRICT JUDGE




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